                                     Supplemental Complaint

                                          Exhibit Index

                                    Bates Stamped Documents

         Documents appear in this order, with Bates-Numbered Slip-Sheets Between them. The
              documents are cited by Bates Number in the Supplemental Complaint.

Document Order Bates Range                    Document Title / Identifier



   41.         DOE00010368-DOE00010371        Carrington College Memo

   42.         DOE00010571-DOE00010572        Concorde Career Institute Memo

   43.         DOE00010573-DOE00010575        Concorde Career Institute Memo

   44.         DOE00010647-DOE00010649        Davenport Memo

   45.         DOE00010738-DOE00010740        Eagle Gate College Memo

   46.         DOE00010783-DOE00010791        Empire Beauty School Memo

   47.         DOE00010792-DOE00010794        Empire Beauty School Memo

   48.         DOE00010795-DOE00010796        Empire Beauty School Memo

   49.         DOE00010818-DOE00010825        Everglades University Memo

   50.         DOE00010834                    Everglades University Memo

   51.         DOE00010870                    Florida Career College Memo

   52.         DOE00010871-DOE00010874        Florida Career College Memo

   53.         DOE00010957                    Galiano Career Academy Memo

   54.         DOE00010963-DOE00010966        Galiano Career Academy Memo

   55.         DOE00011006-DOE00011008        Grantham Memo

   56.         DOE00011207-DOE00011209        Institute for Business & Technology Memo
57.   DOE00011254               Iverson Institute Memo

58.   DOE00011259-DOE00011263   Iverson Institute Memo

59.   DOE00011330               Keller Memo

60.   DOE00011331-DOE00011340   Keller Memo
DOE00010368-DOE00010371
DOE00010368
DOE00010369
DOE00010370
DOE00010371
DOE00010571-DOE00010572
DOE00010571
DOE00010572
DOE00010573-DOE00010575
DOE00010573
DOE00010574
DOE00010575
DOE00010647-DOE00010649
DOE00010647
DOE00010648
DOE00010649
DOE00010738-DOE00010740
DOE00010738
DOE00010739
DOE00010740
DOE00010783-DOE00010791
DOE00010783
DOE00010784
DOE00010785
DOE00010786
DOE00010787
DOE00010788
DOE00010789
DOE00010790
DOE00010791
DOE00010792-DOE00010794
DOE00010792
DOE00010793
DOE00010794
DOE00010795-DOE00010796
DOE00010795
DOE00010796
DOE00010818-DOE00010825
DOE00010818
DOE00010819
DOE00010820
DOE00010821
DOE00010822
DOE00010823
DOE00010824
DOE00010825
DOE00010834-DOE00010834
DOE00010834
DOE00010870-DOE00010870
DOE00010870
DOE00010871-DOE00010874
DOE00010871
DOE00010872
DOE00010873
DOE00010874
DOE00010957-DOE00010957
DOE00010957
DOE00010963-DOE00010966
DOE00010963
DOE00010964
DOE00010965
DOE00010966
DOE00011006-DOE00011008
DOE00011006
DOE00011007
DOE00011008
DOE00011207-DOE00011209
DOE00011207
DOE00011208
DOE00011209
DOE00011254-DOE00011254
DOE00011254
DOE00011259-DOE00011263
DOE00011259
DOE00011260
DOE00011261
DOE00011262
DOE00011263
DOE00011330-DOE00011330
DOE00011330
DOE0001131-00011340
